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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 CHAD HAYSE,

             Plaintiff,

 v.                                                Civil Case No. 17-13294
                                                   Honorable Linda V. Parker
 CITY OF MELVINDALE, a political                   Mag. Elizabeth A. Stafford
 Subdivision of the State;
 MELVINDALE CITY COUNCIL, a
 legislative body of the City of
 Melvindale, NICOLE BARNES,
 WHEELER MARSEE, MICHELLE
 SAID LAND, DAVE CYBULSKI,
 CARL LOUVET, and STEVEN
 DENSMORE, individuals, sued in
 their official and personal capacities

           Defendants.
 ____________________________/

 OPINION AND ORDER REJECTING DEFENDANTS’ OBJECTIONS [ECF
   NO. 113] TO THE MAGISTRATE JUDGE’S AUGUST 2, 2018 ORDER
                         (ECF NO. 108)

       This matter currently is before the Court on Defendants’ Objections to

 Magistrate Judge Stafford’s August 2, 2018 Order on Defendants’ Motion to

 Enforce Protective Order and Cease and Desist from Continued Violation. (ECF

 No. 108.) Defendants filed their Objections to the Order on August 16, 2018.

 (ECF No. 113.) Subsequently, Plaintiff filed a Response to the Objections on
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 August 30, 2018. (ECF No. 116). For the reasons that follow, the Court rejects

 Defendants’ Objections.

                                  Standard of Review

       When a party objects to a magistrate judge’s non-dispositive decision, the

 reviewing court must affirm the magistrate judge’s ruling unless the objecting

 party demonstrates that it is “clearly erroneous” or “contrary to law.” Fed. R. Civ.

 P. 72(a); 28 U.S.C. § 636(b)(1)(A). The “clearly erroneous” standard does not

 empower a reviewing court to reverse a magistrate judge’s finding because it

 would have decided the matter differently. See, e.g., Anderson v. Bessemer City,

 N.C., 470 U.S. 564, 573-74 (1985). Instead, the “clearly erroneous” standard is

 met when despite the existence of evidence to support the finding, the court, upon

 reviewing the record in its entirety, “ ‘is left with the definite and firm conviction

 that a mistake has been committed.’ ” Id. (quoting United States v. United States

 Gypsum Co., 333 U.S. 364, 395 (1948)).

       “ ‘An order is contrary to law when it fails to apply or misapplies relevant

 statutes, case law, or rules of procedure.’ ” Mattox v. Edelman, No. 12-13762,

 2014 WL 4829583, at *2 (E.D. Mich. Sept. 29, 2014) (quoting Ford Motor Co. v.

 United States, No. 08-12960, 2009 WL 2922875, at *1 (E.D. Mich. Sept. 9, 2009)).


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 The reviewing court “must exercise independent judgment with respect to the

 magistrate judge’s conclusions of law.” Haworth, Inc. v. Herman Miller, Inc., 162

 F.R.D. 289, 291 (W.D. Mich. 1995) (citing Gandee v. Glaser, 785 F. Supp. 684,

 686 (S.D. Ohio 1992), aff’d 19 F.3d 1432 (6th Cir. 1994)).

                               Procedural Background

       On July 30, 2018, Magistrate Judge Stafford held oral argument with respect

 to Defendants’ Motion to Enforce Protective Order and Cease and Desist from

 Continued Violation. (ECF No. 79.) Defendants sought the Court’s intervention

 in enforcing Plaintiff’s compliance with a January 30, 2018 Stipulated

 Confidentiality Protective Order. (ECF No. 31.) Defendants alleged Plaintiff

 violated the Order by disclosing confidential discovery materials and transcripts

 from this litigation. On August 2, 2018, Magistrate Judge Stafford ruled against

 Defendants and denied their motion. (ECF No. 108.) Subsequently, Defendants

 filed their Objections on August 16, 2018. (ECF No. 113.) In turn, Plaintiff filed

 his Response on August 30, 2018. (ECF No. 116.)

                               Defendants’ Objections

       Defendants object to Magistrate Judge Stafford’s ruling, arguing she

 committed clear error by: (1) failing to consider all violations of the Protective

 Order; (2) misinterpreting the Order; (3) applying a good cause standard in
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 refusing to enforce the Order; (4) interpreting the Order to require parties to mark

 deposition testimony as confidential; (5) considering emails provided by Plaintiff

 on the date of the motion hearing that were not attached to Plaintiff’s Response;

 and (6) finding no violation of the Order.

                                        Analysis

       First, Defendants argue that Magistrate Judge Stafford committed clear error

 by failing to consider all violations of the Protective Order, specifically Plaintiff’s

 counsel’s disclosure of personnel file documents marked as confidential to her

 other non-party client for use in his ongoing litigation against Defendants. The

 Court does not agree that Magistrate Judge Stafford failed to consider each of

 Defendants’ allegations against Plaintiff simply because each allegation was not

 enumerated in her Order. Plaintiff correctly notes that in examining the record of

 the July 30, 2018 Oral Argument, Magistrate Judge Stafford considered

 Defendants’ potential “intent to shield from the public things . . . the public has a

 right to know about.” (ECF No. 116-10 at Pg ID 7068-71.) Furthermore,

 Magistrate Judge Stafford stated that Defendants’ efforts “to insulate itself or any

 of its officials . . . would [] be directly contrary to public policy.” (Id.) Thus,

 Magistrate Judge Stafford rejected Defendants’ allegations, finding that

 interpreting the Protective Order as Defendants’ requested would frustrate
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 significant public policy concerns. The Court agrees and, therefore, rejects

 Defendants’ first objection.

       Second, Defendants argue that Magistrate Judge Stafford committed clear

 error by not interpreting the Protective Order according to its “clear and

 unambiguous language.” Whether ambiguity exists is a question of law for the

 Court to determine. Aqua Grp. LLC v. Fed. Ins. Co., 620 F. Supp. 2d 816, 820

 (E.D. Mich. 2009). Magistrate Judge Stafford determined that (1) the language in

 the Protective Order could have different interpretations and (2) that Defendants’

 interpretation appeared “overly broad” and as a result “not sanctioned by Rule 26.”

 (ECF No. 116-10 at Pg ID 7071.) The Court is not persuaded by Defendants’

 argument that the placement of one comma clearly dictates the parties’ intent and

 the ordinary meaning of the language at issue so much so that no other

 interpretation would be possible. For this reason, the Court rejects Defendants’

 second objection.

       Third, Defendants argue that Magistrate Judge Stafford committed clear

 error by applying a good cause standard in refusing to enforce the Protective

 Order. Magistrate Judge Stafford did not err in applying a good cause standard.

 As mentioned above, Magistrate Judge Stafford found that Defendants’

 interpretation of the Order contradicted established tenets of Rule 26. In fact, Rule
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 26 states that “[t]he court may, for good cause, issue an order to protect” from

 certain harms that might befall a party from whom discovery is sought. Fed. R.

 Civ. P. 26(c)(1) (emphasis added). To argue that it is clear error to apply a

 standard that is entrenched in the very language of the rule permitting protective

 orders is sorely misguided. Consequently, the Court rejects Defendants’ third

 objection.

       Fourth, Defendants argue that Magistrate Judge Stafford committed clear

 error by interpreting language in the Protective Order to require parties to mark

 deposition testimony as confidential, rather than interpreting the Order to be

 deemed “Confidential” without having to orally indicate such on the record.

 Magistrate Judge Stafford did not err when interpreting the Order to require parties

 to mark deposition testimony as confidential. Notwithstanding the Order

 alleviating the need to orally indicate confidentiality designations on the record,

 the Order can still be read to require parties to mark deposition testimony as

 confidential. For this reason, the Court rejects Defendants’ fourth objection.

       Fifth, Defendants argue that Magistrate Judge Stafford committed clear error

 by finding ambiguity in the language of the Protective Order and considering

 emails provided by Plaintiff on the date of the hearing that were not attached to

 Plaintiff’s Response and which were already considered by Judge Parker.
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 Defendants offer no legal authority that supports the contention that Magistrate

 Judge Stafford could not consider the emails provided by Plaintiff. As discussed

 previously, Magistrate Judge Stafford determined that the language in the

 Protective Order could have different interpretations. The Court agrees and,

 therefore, rejects Defendants’ fifth objection.

       Finally, Defendants argue that Magistrate Judge Stafford committed clear

 error by finding no violation of the Protective Order. The Court agrees with

 Plaintiff that Magistrate Judge Stafford properly applied relevant case law and

 public policy concerns to find that there was no violation of the Order.

 Accordingly, the Court rejects Defendants’ final objection.

       For these reasons, the Court rejects Defendants’ Objections to Magistrate

 Judge Stafford’s August 2, 2018 Order.

       Accordingly,

       IT IS ORDERED that Defendants’ Objections to Magistrate Judge

 Stafford’s August 2, 2018 Order (ECF No. 113) are REJECTED.

       IT IS FURTHER ORDERED that Magistrate Judge Stafford’s August 2,

 2018 Order (ECF No. 108) is AFFIRMED and Defendants’ Motion to Enforce

 Protective Order and Cease and Desist from Continued Violation (ECF No. 79.) is


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 DENIED.

                                              s/ Linda V. Parker
                                              LINDA V. PARKER
                                              U.S. DISTRICT JUDGE

 Dated: October 15, 2018

 I hereby certify that a copy of the foregoing document was mailed to counsel of
 record and/or pro se parties on this date, October 15, 2018, by electronic and/or
 U.S. First Class mail.

                                              s/ R. Loury
                                              Case Manager




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